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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

                                                                               Electronically Filed

 THE HONORABLE ORDER OF                           )
 KENTUCKY COLONELS, INC.                          )
                                                  )
          PLAINTIFF                               )
                                                  )
 v.                                               ) CIVIL ACTION NO. 3:20CV-132-DJH
                                                  )
 KENTUCKY COLONELS                                )
 INTERNATIONAL, et al.                            )
                                                  )
                                                  )
          DEFENDANTS                              )


                          REPLY IN SUPPORT OF PLAINTIFF’S
                        MOTION FOR PRELIMINARY INJUNCTION

         Plaintiff, The Honorable Order of Kentucky Colonels (“HOKC”), by counsel, for its reply

in support of its motion for a preliminary injunction [DN 7], which is set for a hearing on March

4, 2020 at 10:00 a.m., hereby states and certifies as follows:

      1. Despite the filing of Plaintiff’s Verified Complaint [DN 1] and the Court’s entry of the

         February 25, 2020 Temporary Restraining Order [DN 14], Defendants continue to infringe

         on HOKC’s trademark, irreparably damaging its goodwill and tarnishing its name.

         Specifically, Defendants have registered and continue to use a domain name

         www.kycolonels.international that incorporates the KENTUCKY COLONELS Mark and

         is identical or confusingly similar to HOKC’s domain name www.kycolonels.org. [See

         Affidavit of Sherry Crose (the “Crose Affidavit”), (attached as Exhibit 1), ¶ 3].

      2. Sometime after February 26, 2020, the name on the website maintained by Kentucky

         Colonels International (the “KCI Website”) was changed from “Kentucky Colonels
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        International” to “Kentucky Colonel Foundation.” [Id. at ¶ 4]. However, the domain name

        for the KCI Website did not change; it remains www.kycolonels.international. [Id.]. A

        copy of the “new” KCI Website as of 9:30 a.m. on February 27, 2020, was previously

        provided to the Court and attached Exhibit 6 to the Third Supplement to Plaintiff’s Motion

        for Preliminary Injunction [DN 19-6]. [Id.]. As shown on that exhibit, the “new” version

        of the KCI Website continued to tout the group as “Kentucky’s Goodwill Ambassadors”

        and described the history and background of “the prestigious Order of the Kentucky

        Colonel.” Thus, the content on the website attempted to create the impression that the

        organization has a philanthropic mission. Like the earlier version of the KCI Website, the

        content of the website as reflected in the exhibit filed with the Court continued to solicit

        donations for the Kentucky Colonel Foundation, among other things. 1

     3. KCI maintains a public Facebook page. [Id. at ¶ 5]. The public Facebook page previously

        used the username “Kentucky Colonels International” and handle “@KentuckyColonels.”

        [Id.]. Sometime after February 26, 2020, the name on the KCI Facebook page was changed

        to “Kentucky Colonel Foundation” and handle “@kycolonelfoundation.” [Id.]. Like the

        KCI Website, the Kentucky Colonel Foundation Facebook page touts the group as

        Kentucky’s “goodwill ambassadors” and states “because they are issued letters patent by

        the head-of-state colonels are legally charged with promoting the interests of the state,

        tourism, economic development and its prosperity under the duly elected Governor.” The

        Facebook page further adds “colonels are found frequently to become involved in

        volunteerism and community service with non-profit causes and events inside and outside

        of Kentucky.”


1
 While the Donation page is still up, the PayPal link and QR Code on the page no longer function and there is a
disclaimer on the Donation page reflecting the TRO entered by this Court.

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 4. KCI’s public Facebook page, and specifically its handle, is confusingly similar to HOKC’s

    public Facebook page handle “@kycolonels” and username “Honorable Order of Kentucky

    Colonels.”

 5. The domain name, organization name, and content of the KCI Website as well as the

    username, handle and content of the KCI public Facebook page is misleading and creates

    confusion by suggesting or fostering the impression that the individual or organization

    responsible for maintaining the KCI Website and KCI public Facebook page is affiliated

    with or approved by HOKC. [Id. at 6]. In addition, the KCI Website and KCI public

    Facebook page repeatedly infringe on the KENTUCKY COLONELS Mark that is critical

    to HOKC’s mission. [Id.].

 6. On February 28, 2020, Defendants again modified the KCI Website to include a statement

    suggesting that they did not recognize the jurisdiction of this Court to provide the relief

    requested by HOKC. [Id. at ¶ 8]. Specifically, the KCI Website was modified to include

    the following statement:

            Finally, since we are being forced to abandon our Assumed Name
            Corporation registration for “Kentucky Colonels International” in
            Kentucky as a result of this lawsuit, we have taken steps to offshore our
            international decentralized autonomous organization to the world theater
            that it has been developed for as goodwill ambassadors with our
            colonelships to establish ourselves as a foundation and benign non-state
            actors. This action may remove us legally from the jurisdiction of the US
            Federal Court, perhaps not as so many of our members are not US
            Citizens. If any natural person can show actual evidence of any significant
            commercial transactions using our previous corporate name to warrant our
            return they are welcome to pursue us in the International Maritime Court or
            International Criminal Court in The Hague.

    A copy of the page from the KCI Website reflecting this statement is attached to the Crose

    Affidavit as Exhibit 1. On February 28, 2020, the KCI Website was also amended to

    include the statement “As of 11:15 AM on February 28 Kentucky Colonels International


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    ceased to exist when our CERTIFICATE OF WITHDRAWAL OF ASSUME NAME was

    registered with the Kentucky Secretary of State Michael Adams in Frankfort, Kentucky.”

    Finally, the KCI Website was amended to include an entire page on HOKC which, in

    addition to using HOKC’S registered logo without permission, includes various

    disparaging statements regarding HOKC. A copy of that page from the KCI Website is

    included in Exhibit 1 to the Crose Affidavit. [Id.].

 7. On March 3, 2020, Defendant David Wright, on behalf of himself and the other

    Defendants, forwarded the undersigned counsel a response to the pending motion and

    answer to Plaintiff’s Verified Complaint. Copies of the correspondence transmitting those

    materials as well as the materials themselves are attached as Exhibit 2 (hereinafter

    “Defendants’ Response”). Defendants’ Response, among other things, acknowledges

    Defendants’ intentions to “formalize [Defendants] development by offering paid

    membership, starting an international registry, providing credentials to members, and

    charging [Defendants] unpaid members voluntary and monthly dues for a more formal and

    better organized services program….” [Defendants’ Response, 7]. Defendants’ Response

    further reiterates Defendants’ intentions to continue to infringe on the KENTUCKY

    COLONELS Mark, by now using the name “Kentucky Colonel Foundation.” [Id. at 11].

    Defendants’ Response states that “the newly renamed organization” has declared itself “an

    offshore foundation under laws where [HOKC and the Court] have no jurisdiction or rights

    so that we can enjoy freedom as a civil society organization as which we were formed.”

    [Id.]. Defendants defiantly declare their intention to continue to use the KENTUCKY

    COLONELS Mark because neither HOKC nor “the US Courts” can “use a US trademark

    to control a state award or recognition granted by the Governor or previous Governors.”



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    [Id.]. Defendants make their financial motivation clear, candidly admitting that Defendants

    “are still willing to negotiate.” [Id.].

 8. Defendants are using the kycolonels.international domain name to intentionally attempt to

    attract, for commercial gain, internet users to the KCI Website by creating a likelihood of

    confusion with HOKC’s KENTUCKY COLONELS Mark.                        See 5 McCarthy on

    Trademarks and Unfair Competition § 25A:48 (5th ed.). Defendants are using the KCI

    Website domain name to mislead web users to access its website in order to increase traffic,

    which is a form of bad faith. [Id].

 9. “Cybersquatting” occurs when a person other than a trademark holder registers a domain

    name of a well-known trademark and then attempts to profit by either ransoming the

    domain name back to the trademark holder or by using the domain name to divert business

    from the trademark holder to the domain name holder. Daimlerchrysler v. The Net Inc.,

    388 F.3d 201, 204 (6th Cir. 2004) (citing Sporty’s Farm L.L.C. v. Sportsman’s Market,

    Inc., 202 F.3d 489, 493 (2d Cir. 2000)).

 10. Under the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d) (the

    “ACPA”), the central issue is the defendants’ bad faith. The ACPA lists factors courts may

    consider in determining whether a registration is actionable, including:

    •        The defendant's intent to divert consumers from the mark owner's online location
    to a site accessible under the domain name that could harm the goodwill represented by the
    mark by creating a likelihood of confusion as to the source, sponsorship, affiliation, or
    endorsement of the site, either:

            •       for commercial gain; or

            •       with the intent to tarnish or disparage the mark.

    •      Whether the defendant has offered to transfer, sell, or otherwise assign the domain
    name to the mark owner or any third party for financial gain and:

            •       has neither used nor intends to use the domain name in the bona fide

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                      offering of any goods or services; or

              •       the defendant's previous conduct indicates a pattern of this conduct.

       •      Whether the defendant has:

              •       provided material and false contact information when applying to register
                      the domain name;

              •       intentionally failed to maintain accurate contact information; or

              •       engaged in a pattern of this type of conduct.

       •       The extent to which the mark incorporated in the defendant's domain name is or is
       not distinctive and famous within the meaning of the list of factors for determining fame
       under Section 43(c)(1) of the Lanham Act.

[See 15 U.S.C. § 1125(d)(B)(i)].

   11. Under the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(a) et seq. “[A]

       plaintiff is entitled to an injunction that is somewhat broader than the scope of its ACPA

       claim in order to protect the reputation and goodwill it has established in its marks and to

       prevent defendants from infringing on, or otherwise harming, those marks.”

       Daimlerchrysler, 388 F.3d at 208.

   12. Here, HOKC is entitled to relief from Defendants’ cyber-piracy activities because (1) it has

       a valid trademark entitled to protection; (2) its Mark is distinctive or famous; (3) the

       Defendants’ domain name is identical or confusingly similar to, or dilutive of, HOKC’s

       Mark; and (4) Defendants used, registered, or trafficked in the domain name (5) with a bad

       faith intent to profit. Id. at 208-209 (citing Ford Motor Co. v. Catalanotte, 342 F.3d 543,

       546 (6th Cir. 2003)).

   13. The Defendants’ bad faith conduct in attempting to divert business using a misleading

       domain name is described and reflected in the Verified Complaint, the attachments thereto,

       the supplements tendered in support of Plaintiff’s Motion for a Preliminary Injunction and


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    the attached Affidavit of Sherry Crose. Defendants’ alteration of the Wikipedia article on

    “Kentucky Colonel” deleting the entry regarding HOKC’s protected trademark,

    Defendants’ disregard of the TRO and Defendants’ stated intentions to defy the Court’s

    future directives clearly demonstrates bad faith. Both the transmittal correspondence that

    accompanied Defendants’ Response and the response itself reiterate Defendants’ intentions

    to continue their infringement on the HOKC Mark as well as the smear campaign directed

    at HOKC unless their extortionate demands are met.           [See Defendants’ Response

    transmittal letter and Defendants’ response]. Defendants have repeatedly demonstrated a

    pattern and practice of bad faith by disregarding HOKC’s trademark, attempting to mislead

    the public for their own enrichment, attempting to extort the HOKC under the guise of a

    “merger proposal” and disparaging HOKC and its membership when those extortion efforts

    were rejected. Such bad faith is further demonstrated by the assertion that Defendants do

    not recognize the jurisdiction of this Court to provide the relief requested by HOKC, and

    the proclamation that Defendants’ efforts to misappropriate HOKC’s Mark will be moved

    “offshore.”

 14. For the reasons stated above, HOKC respectfully requests the Court enter the Order

    Granting Preliminary Injunction tendered herewith.




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                                             Respectfully submitted,

                                             /s/ Cornelius E. Coryell II
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                                             Counsel for Plaintiff, the Honorable Order of
                                             Kentucky Colonels, Inc.



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2020, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served upon the following, via U.S. Mail and via email at
kycolonels.international on the 3rd day of March, 2020:

 Kentucky Colonels International              Ecology Crossroads Cooperative Foundation, Inc.
 c/o Maya-Lis A. Wright                       c/o Maya-Lis A. Wright
 302 General Smith Drive                      302 General Smith Drive
 Richmond, KY 40475                           Richmond, KY 40475

 Globcal International                        David J. Wright
 c/o Maya-Lis A. Wright                       302 General Smith Drive
 302 General Smith Drive                      Richmond, KY 40475
 Richmond, KY 40475

                                             /s/ Cornelius E. Coryell II
                                             Counsel for Plaintiff, the Honorable Order of
                                             Kentucky Colonels, Inc.
100243535




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